103 F.3d 141
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Charles Joseph DELANEUVILLE, Defendant-Appellant.
    No. 95-56242.
    United States Court of Appeals, Ninth Circuit.
    Submitted Nov. 18, 1996.*Decided Nov. 20, 1996.
    
      Before:  PREGERSON, REINHARDT, and T.G. NELSON, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Federal prisoner Charles Joseph Delaneuville appeals pro se the district court's denial of his 28 U.S.C. § 2255 motion.  We have jurisdiction pursuant to 28 U.S.C. § 2255.  We review de novo, Frazer v. United States, 18 F.3d 778, 781 (9th Cir.1994), and affirm.
    
    
      3
      Delaneuville moved to vacate and correct his sentence based upon:  (1) the government's failure to prove that the substance he possessed was d-methamphetamine;  and (2) counsel's failure to raise the d-methamphetamine issue at sentencing.  This court's recent decision in United States v. McMullen, No. 95-36031, slip op. 14007 (9th Cir.  Oct. 23, 1996), forecloses both of Delaneuville's claims.
    
    
      4
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4.  Accordingly, Appellant's request for oral argument is denied
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    